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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF FLORIDA
                               PENSACOLA DIVISION


UNTIED STATES OF AMERICA

vs.                                               CASE NO.: 3:08cr8/MCR

MARK E. ARTIGUES, et al.

                                      /


                                          ORDER

       Defendant, Mark E. Artigues, was indicted in this district on January 23, 2008, on
charges of conspiracy to distribute Schedule II through IV controlled substances,
conspiracy to commit money laundering, and possession of a firearm in furtherance of a
drug conspiracy. He was arrested in the Eastern District of Louisiana on a warrant from
this district and made his initial appearance before a magistrate judge from that court on
February 14, 2008. Following a hearing on February 21, 2008, at which the government
argued for defendant’s detention, the magistrate judge ordered defendant released on
financial conditions. The government requested that the magistrate judge stay the release
order so as to give the government time to challenge the order. The magistrate judge gave
the government until close of business today to obtain a stay from this court.
       The government has today filed a motion with this court seeking a stay of the
magistrate judge’s release order and an order of transfer to this district, and stating its
intent to file a motion for review of the release order with this court pursuant to 18 U.S.C.§
3145(a)(1).
       Accordingly, it is hereby ORDERED:
       1.     The February 21, 2008, order of release on conditions entered by Magistrate
Judge Louis Moore, Jr. is STAYED, pending review by this court.
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       2.     The government shall file its motion for review of the release order within ten
days of today’s date.
       3.     Pursuant to the warrant issued by this court on January 24, 2008, the United
States Marshal’s Service is directed to promptly remove the defendant from the Eastern
District of Louisiana and transport him to this district for arrival no later than Friday,
February 29, 2008.
       DONE and ORDERED this 22nd day of February, 2008.




                                            s/   M. Casey Rodgers
                                          M. CASEY RODGERS
                                          UNITED STATTS DISTRICT JUDGE




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